           Case 1:17-vv-01335-UNJ Document 65 Filed 10/15/20 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 17-1335V
                                          UNPUBLISHED


    LINDSEY DENWIDDIE,                                          Chief Special Master Corcoran

                         Petitioner,                            Filed: September 14, 2020
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Heather Varney Menezes, Shaheen & Gordon, P.A., Manchester, NH, for petitioner.

Ronalda Elnetta Kosh, U.S. Department of Justice, Washington, DC, for respondent.

                                DECISION ON JOINT STIPULATION1

        On September 26, 2017, Lindsey Denwiddie filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2
(the “Vaccine Act”). Petitioner alleges that she suffered from a shoulder injury related to
vaccine administration (“SIRVA”) which meets the Table definition or, in the alternative,
was caused-in-fact by the influenza vaccine she received on October 2, 2014. Petition at
¶¶ 3, 19; Stipulation, filed at Sept. 11, 2020, ¶¶ 1-2, 4. Petitioner further alleges she
received the vaccination in the United States, that she suffered the residual effects of her
injury for more than six months, and that neither she nor any other party has filed a civil
action or received compensation for her injury, alleged as vaccine caused. Petition at ¶¶
3, 14-16; Stipulation at ¶¶ 3-5. “Respondent denies that petitioner sustained a SIRVA
Table injury; denies that the flu vaccine caused petitioner’s alleged shoulder injury, or any
other injury; and denies that her current condition is a sequelae of a vaccine-related
injury.” Stipulation at ¶ 6.


1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:17-vv-01335-UNJ Document 65 Filed 10/15/20 Page 2 of 7



        Nevertheless, on September 11, 2020, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $130,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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Case 1:17-vv-01335-UNJ Document 65 Filed 10/15/20 Page 3 of 7
Case 1:17-vv-01335-UNJ Document 65 Filed 10/15/20 Page 4 of 7
Case 1:17-vv-01335-UNJ Document 65 Filed 10/15/20 Page 5 of 7
Case 1:17-vv-01335-UNJ Document 65 Filed 10/15/20 Page 6 of 7
Case 1:17-vv-01335-UNJ Document 65 Filed 10/15/20 Page 7 of 7
